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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                    Plaintiff

v.                                              Case No. 23-30194
                                                Originating No. 22cr715

KHEJUAN BRANCH,


                Defendant.
_____________________________________/

                         GOVERNMENT’S PETITION
                     FOR TRANSFER OF DEFENDANT TO
                  ANOTHER DISTRICT AND SUPPORTING BRIEF


       Pursuant to Rule 5(c)(3)(D) of the Federal Rules of Criminal Procedure, the

United States of America hereby petitions the Court for an order transferring defendant

KHEJUAN BRANCH, to answer to charges pending in another federal district,

and states:

       1. On May 15, 2023, defendant was arrested in the Eastern District

Michigan in connection with a federal arrest warrant issued in the Northern District of

Ohio based on a Petition. Defendant is charged in that district with

violations of Pretrial Release.


       2. Rule 5 requires this Court to determine whether defendant is the person

named in the arrest warrant and is entitled to a preliminary examination as described in

Paragraph One above. See Fed. R. Crim. P. 5(c)(3)(D)(ii).
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      WHEREFORE, the government requests this Court to conduct transfer

proceedings in accordance with Rule 5 of the Federal Rules of Criminal Procedure.


                                              Respectfully submitted,

                                              DAWN N. ISON
                                              United States Attorney


                                              s/Lisandra Fernandez-Silber
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Dated: May 15, 2023
